                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

UNITED STATES OF AMERICA                               )
                                                       )        Case No. 4:17-cr-24-TRM-SKL
v.                                                     )
                                                       )
SHAY WILLIAMS                                          )

                                REPORT & RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on December 20,

2017. At the hearing, defendant moved to withdraw his not guilty plea to Count One of the

four-count Indictment and entered a plea of guilty to Count One of the Indictment, in exchange

for the undertakings made by the government in the written plea agreement.      On the basis of the

record made at the hearing, I find the defendant is fully capable and competent to enter an

informed plea; the plea is made knowingly and with full understanding of each of the rights

waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; the defendant understands the nature of the

charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to

Count One of the Indictment be granted, his plea of guilty to Count One of the Indictment be

accepted, the Court adjudicate defendant guilty of the charges set forth in Count One of the

Indictment, and a decision on whether to accept the plea agreement be deferred until sentencing.

I further RECOMMEND defendant remain in custody until sentencing in this matter.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition

of sentence are specifically reserved for the district judge.

                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE


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                                    NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
to challenge the plea of guilty in this matter. See 28 U.S.C. '636(b).




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